           Case
            Case2:13-cr-00132-LDG-VCF
                  2:13-cr-00132-LDG-VCF Document
                                        Document148  Filed12/30/16
                                                 137 Filed 01/25/17 Page
                                                                     Page11
                                                                          ofof
                                                                             22




 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     KATHRYN C. NEWMAN
 3   Assistant United States Attorney
     Nevada Bar No. 13733
 4   501 Las Vegas Boulevard South, Suite 1100
     Las Vegas, Nevada 89101
 5   Telephone: (702) 388-6336
     Fax: (702) 388-6418
 6   Email: Kathryn.newman@usdoj.gov
     Counsel for United States of America
 7

 8
                                  UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
                                              -oOo-
10

11
     UNITED STATES OF AMERICA,                           )   Case No.: 2:13-cr-00132-LDG-VCV
12                                                       )
                     Plaintiff,                          )
13                                                       )   GOVERNMENT’S APPLICATION FOR
     vs.                                                 )   AN ORDER TO SEAL EXHIBITS TO
14                                                       )   SENTENCING MEMORANDUM AND
     RAMZI SULIMAN,                                      )   ADDENDUM
15                                                       )
                     Defendant.                          )
16                                                       )
17

18           COMES NOW, the United States of America, by and through Daniel G. Bogden, United

19   States Attorney, and Kathryn C. Newman, Assistant United States Attorney, and respectfully

20   moves this Honorable Court for an Order sealing Exhibit 4 to its Sentencing Memorandum, ECF

21   #135-4, and Exhibit 5 to its Addendum, ECF #136-1.

22           The Government respectfully requests that these exhibits be sealed as they contain

23   personal identifying information of the defendant, which need not part of the public record.

24   Although counsel for the Government reviewed the documents in advance of filing them, the

25   defendant’s personal identifying information was not specifically labeled as such and, therefore,

26   escaped notice until after the briefs were filed.



                                                   1
         Case
          Case2:13-cr-00132-LDG-VCF
                2:13-cr-00132-LDG-VCF Document
                                      Document148  Filed12/30/16
                                               137 Filed 01/25/17 Page
                                                                   Page22
                                                                        ofof
                                                                           22




 1             For these reasons, the Government respectfully requests that the Court seal Exhibit 4 to
 2   the Government’s Sentencing Memorandum, ECF #135-4, and Exhibit 5 to the Government’s
 3   Addendum, ECF #136-1.
 4             DATED this 30th day of December 2016.
 5

 6                                                         Respectfully submitted,
 7                                                         DANIEL G. BOGDEN
                                                           United States Attorney
 8

 9
                                                           /s/ Kathryn C. Newman
10                                                         KATHRYN C. NEWMAN
                                                           Assistant United States Attorney
11

12

13

14                                                ORDER
15
                      IT IS HEREBY ORDERED THAT Exhibit 4 to the Government’s Sentencing
16
     Memorandum, ECF #135-4, and Exhibit 5 to the Government’s Addendum, ECF #136-1 are
17
     sealed.
18

19     DATED this 24th day of January, 2017.

20                                                         U.S. DISTRICT COURT JUDGE
21

22

23

24

25

26



                                                   2
